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         .Other categories in the TDP, pleural disease levels 1, 2 and 3, also

 require bilateral pleural disease, excluding unilateral disease. These

 classifications too are scientifically arbitrary.

         The ILO (2000) .classifications recognize unilateral disease. Its pleural

 thickening scoring system, p.7, refers to "an obliterated costophrenic angle"

 implying that one angle is sufficient. Similarly the scoring system, p.7, for

 diffuse pleural thickening records measurements "separately for the right

and left side," implying that a single 3mm width in a single "extent> 25%"

will suffice. However, the TDP does not follow ILO (2000), as the TDP

excludes unilateral disease.

        The exclusion of unilateral disease is scientifically arbitrary and has no

relationship to the treatment of asbestos disease patients.

        79.     The TDP omits diffusion capacity (DLCO) as a measure of

severity. The TDP, p. 26, for "Severe Disabling Pleural Disease" Level 48,

requires Total Lung Capacity (TLC) or Forced Vital Capacity (FVC) under 65.

Of all lung function tests, the three most important in asbestos disease are

FVC, TLC, and diffusion capacity. The Fishman text, p. 950, states "The

characteristic pulmonary function changes of asbestosis are a restrictive

impairment with a reduction in lung volumes (especially FVC and TLC),

decreased diffusion capacity, and arterial hypocemia." ATS (2004) Official


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 Statement adopted the above quoted statement at p. 697. The 2005 Public

 Citizen comment by Dr. Michael Harbut, Dr. Philip J. Landrigan, Dr. Alan C.

 Whitehouse and Dr. L. Christine Oliver states that DLCO is "essential to

 determine how badly a person's lungs are impaired." Exh. 16. The TDP's

 omission of diffusion capacity as a measure of severity is not consistent with

 the medical literature, or dinicalpractice.

         Diffusion Capacity (DLCO) is a particularly important indicator ofthe

 severity of impairment in the Libby asbestos disease patients. In some

 cases, there is si9nificant asbestos disease on the chest x-ray and only the

 DLCO is reduced, not the FVC or TLC. Some patients with severe shortness

of breath are severe only in the DLCO defect. In Whitehouse (2004), p. 224,

76% of the 123 patients had progressive loss of lung function. Losses were

about the same for each of FVC, TLC and DLCO at 2-3% per year.

        In the CARD mortality"study, among those who died of non-malignant

asbestos disease, 47% (29/61) had only DLCO under 65 (out-of FVC, TLC and

DLCO). These patients were all severe and are now dead. Yet, none would

qualify as a "severe pleural" under the TDP because they did not happen to

have FVC or TLC under 65. In terms of clinical medicine, the exclusion is

scientifically arbitrary.

        80.' The TDP excludes those with an obstructive component to their


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 asbestos pleural disease. TDP, p. 26, for "Severe Disabling Pleural Disease",

 Level4B, and for moderate "pleural disease," Level 3, requires an "FEV,/FVC

 ratio> 65%." As discussed above in § H Obstructive Defect from Asbestos

 Related Disease, an obstructive pattern is common with ARD, particularly in

 the Libby cohort. To exclude those with significant Asbestos Pleural Disease

 and an obstructive component would be scientifically arbitrary.

         The Fishman text, p. 604, states: ''The hallmark of the obstructive

 pattern is a reduction in the FEV,/FVC percentage...Typically, all three lung

 volumes, residual volume, FRC, and TLC are increased." Here, increased

 means abnormal, or over 120% of predicted. A mild reduction in FEV,/FVC

 ratio may be seen as a ratio of 60-70. Markowitz et al (1997). p. 102, uses a

ratio of 70 as normal for ages under 60 and a normal of 65 for those 60 or

older.

         In the CARD mortality study, among those who died of non-malignant

asbestos disease, 40% (29/72) had an FEV1/FVC ratio· of 65 or less.

         The problem is that smoking disease may also cause reduction in the

ratio, and there may be an interest in excluding persons with minimal

asbestos disease and predominately smoking disease. A more scientifically

sound approach would be to exclude those with a ratio under 65 and TLC

abnormally high (over 120). Of the CARD mortality study non-malignant

deaths, 10% (6/61) of those with full lung function tests had a total lung
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 capacity over 120. As I understand it, these six would go to individual

 review.

          No requirement of an FEV,/FVC ratio over 65 is included as a

 necessary condition to the diagnosis of asbestos-related disease in the ATS

 (2004) Official Statement on standard practice in diagnosis of ARD. No

 diagnostic definition of ARD includes a requirement that the FEV,/FVC ratio

. be over 65. Excluding those patients with a ratio under 65 from the pleural

 disease classification is scientifically arbitrary. The interest in excluding

those with smoking disease arid no significant asbestos disease is

 understood. This may be properly accomplished through a requirement

that total lung capacity (TLC) be abnormally high (over 120).

         Considering the 79 non-malignant deaths secondary to asbestos·

related disease in the CARD mortality study 12/29/08, only 16% (13n9) met

all medical criteria in the TOP for "Severe Disabling Pleural Disease."

         81 ;... Attached ·is a CD containing spreadsheets titled·"CT _.

Measurements by Dr. Whitehouse on various clients of MHSM and LSK,"

and "Chest x-ray measurements by Dr. Whitehouse on various clients of

MHSM and LSK." Only one of the listed patients of the CARD Clinic (Robert

Barnes) met all medical criteria for "severe pleural" under the Grace Plan.

        82.      Dr. Whitehouse will testify to opinions in medical records

(already delivered) on patients who are Libby Claimants, and that each has a
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 probability of death with ARD as a significant contributing factor, for each of

 the following CARD patients:

         1.       Patients listed on CD "CHX measurements by Dr. Whitehouse on

 various clients of MHSM and LSK," report ~ 81.

         2.      Patients listed on Exh. 6, rapid progression.

         3.      Patients and individuais listed on Exh. 9, mesotheliomas.

         4.      Patients on the CD "Plaques to Interstitial Disease" (AI Dickerman

 and Lloyd Brickey), Exh. list, item 6.

         5.      Patients listed on the CD "CARD Mortality Study Spreadsheets

 5/09,' spreadsheet "CARD Mortality Study 76 non-malignant deaths, and

CHX reads by Dr. Whitehouse."

        6.       Patients referenced above who are not clients of MHSM or LSK,

and for whom medical records have been delivered will also be discussed.

        83.      On Exh. 3, Whitehouse et al (2008), Table 1, medical records can

be traced as follows:

        1. Marvin Flatt                  2. Carol Gerard           3. Jack Harrison
        4. Loretta Orem                  5. Arnold Pederson        6. Darlene Riley
        7. James Roberts                 8. Everett Sanderson      9. Victoria Skidmore
        10. Elizabeth Trimble            11. Ford Wilson

        84.     The data ·and other information considered in forming the above

opinions and observations include:

        a.      Unless otherwise indicated, observations made in litigation are
                based upon the approximately 950 persons with ARD who are
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                 clients of MHSM and LSK, and specific non-client patients who
                 are listed on the documents in ~ 82, for whom redacted medical
                 records have been delivered. This is a very large number, and
                 provides sufficient data to describe all phenomena discussed in
                 this report.

         b.      All information referenced above.

         c.      Medical literature on asbestos disease.

         d.      Consultations with Dr. Arthur Frank, and his expert report.

         e.      Consultations with epidemiologist Dr. Craig Molgaard.

         f.      A listing of cases with trial or deposition testimony is attached.

                 Compensation is at the rate of $350 per hour.




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                 DATED this       J':L day of May, 2009.

                                                          Dr. Alan C. Whitehouse




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              List of Exhibits to Expert Report by Dr. Alan C. Whitehouse


 1.       Whitehouse, A.C., Curriculum vitae.

 2.      "Asbestos-Related Pleural Disease Due to Tremolite Associated with
         Progressive Loss of Lung Function: Serial Observations in 123 Miners,
         Family Members, and Residents of Libby, Montana,u Am J Ind Med
         46:219-225 (2004).

 3.      IIEnvironmental Exposure to Libby Asbestos and Mesotheliomas,u
         Whitehouse (2008) Am J Ind Med. 51 (11 ):877-880.

 4.      Client Sort by Exposure (Community/Family Member/Worker) (CARD
         patients only).

 5.      Dead in 123 patients in Whitehouse (2004), as of 3/12/09.

 6.      Chart IICase # Type of Progression ll with x-rays on CD IIWhitehouse
         Progression films. 1I Also CD IIPlaque to Interstitial Disease,u and CD
        ,IIphotos of pleural plaques. 1I (3/14/09)

7.       Chart, IISummary of Mortality Study Disease Percentages. 1I

      Mortality data are on a CD titled IIMortality Study Spreadsheets,u
revised May 2009 containing spreadsheets on 76 non-malignant ARD
deaths, 34 cancer deaths, and death certificate information for 11 o deaths.

                 IICARD Mortality Study, 76 Non-Malignant Deaths, CHX Readings·
                 by Dr. Whitehouse. 1I May 2009.

                .IICARD Mortality Study, Meso, LC, Other Cancers, CHX Readings
                 by Dr. Whitehouse. 1I May 2009.

                 IICARD Mortality Study, 76 non-malignant deaths, CT Scans per
                 Dr. Whitehouse. 1I May 2009.

                 IICARD Mortality Study, 76 Non-Malignant Deaths, CHX Readings
                 by Dr. Frank. 1I May 2009.



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                   "CARD Mortality Study, non-malignant ARD deaths -
                   primary/contributing causes 5/9/09:1

                   "Death Certificate Causes of Death 110.'1 May 2009.

         Mortality study medical records 116, Exh. 7 is a separate CD revised
  5/09. Patient information on non clients is redacted. See- 1I 116 Mortality Ust"
  with 'IPatient Number on COli attached to this list.

  7a.      Chart, "Summary of Mortality Study Disease Percentages Primary
           Cause Analysis (as of 7/9/08).'1

  8:       Printout, "Libby Claimants on Oxygen (CARD patients only)," 5/28/08
           and "Libby Claimants with FVC, TLC orDLCO < 60 (CARD patients
           only)," 5/28/08.

 9.        Chart "Mesothelioma Cases Due to Exposure to libby Asbestos."
           Documents supporting the chart are on the CD titled "Meso Cases
           Libby 7/30/07."

 1O.      "Summary of Deceased Clients Chart MHSM" and "Summary of
          Deceased Clients Chart MHSM" with supporting data summaries.

- 11.     Charts 035a "Workers with Disease -1969," 035b "Workers with
          Disease - 1975,uand 035c "Workers with Disease - 1976. 11

 12.      Cookson (1986), Fig. 1. Chart W-2 "Years since first exposed."
   ....
 13.      Chart, Studies on Radiographic Progression of Asbestos Disease.

 14.      Chart, Workers Dead from Asbestos Disease (2000 study).

15. -_ Audit of HNA Denials and Downgrades of Severity of Disease
       (December 2005), and chart of data with non-Libby Claimants deleted.

16.       Public Citizen, "Leading Medical Experts Fault Arbitrary, Outdated
          Medical Criteria in Asbestos Bill," (May 2005).

17.       Letter dated February 9, 2005, titled "Preliminary Report of 79 Chest X-
          rays Reviewed Relative to the Asbestos Injury Resolution Act of 2005,


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          with attached Log of Patients Criteria Study, FVC and on Oxygen (non-
          Libby Claimants' names are blacked out.)

  18.     Letter by the President of the American Thoracic Society.

  19.     Chart, IIWeill comparison to ATSDR and CARD.II Documents
          supporting the chart are on the CD titled IIWeill Comparison 7/23/07. 11

  20.     W.R. Grace & Co., IISource Emissions - Results of Surveys 1975. 11

  21.     Chart, i'Libby Cohort Deaths Per Source. 1I

  22.     W.R. Grace & Co., memo, McCaig to Walsh 9/17/85.

 23.    -Chart, IICenter for Asbestos Related Disease, Libby Pulmonary
        -Function Test.(PFT) Comparison with Independent Medical. Exam
         PFTs.i' Documents supporting the chart are onthe CD titled IICARD -
         PFT Comparison with IME PFTS 7/23/07. 11

 24.     Listing of cases with deposition or trial testimony.




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